Case 20-60067-jwc             Doc 74       Filed 12/21/20 Entered 12/21/20 09:48:45                    Desc Main
                                           Document      Page 1 of 3




     IT IS ORDERED as set forth below:



     Date: December 19, 2020
                                                                      _________________________________

                                                                                Jeffery W. Cavender
                                                                           U.S. Bankruptcy Court Judge

 ________________________________________________________________




                          IN THE UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

 In Re:                                                      CASE NO. 20-60067
 NACASHA LECA RUFFIN,
                     Debtor.                                 CHAPTER 11


                                  ORDER GRANTING
                       EMERGENCY MOTION TO SELL REAL PROPERTY

           This matter came before the Court for hearing on December 17, 2020 on Debtor’s

Emergency Motion to Sell Real Property (the “Emergency Motion”),1 which requests, among

other things, entry of an order pursuant to sections 105 and 363 of the Bankruptcy Code and Rule

6004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) approving the sale

of certain real property (the “Sale”) detailed in the Purchase Agreement attached as Exhibit B to


 1
     Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
Case 20-60067-jwc        Doc 74     Filed 12/21/20 Entered 12/21/20 09:48:45             Desc Main
                                    Document      Page 2 of 3



the Motion (the “Purchase Agreement”); the Court having reviewed and considered the

Emergency Motion, the arguments of counsel, and the evidence presented at the hearing on the

Motion; and no parties in interest having objected to the Emergency Motion; and it appearing that

the relief requested in the Emergency Motion is in the best interests of the Debtor, its bankruptcy

estate, and all creditors and other parties in interest; and sufficient notice of the Emergency Motion

having been given to all creditors and parties in interest; and after due deliberation thereon, and

good cause appearing therefore, it is hereby ORDERED as follows:

       1.       The Emergency Motion is GRANTED as set forth herein.

       2.       The Purchase Agreement, including any amendments, supplements, and

modifications thereto, and all of the terms and conditions therein, is hereby APPROVED.

       3.       The Debtor may sell the Property free and clear of all liens, claims and

encumbrances, because one or more of the standards set forth in Section 363(f)(1)-(5) of the

Bankruptcy Code has been satisfied.

        4.      As shown in the Debtor’s schedules [Doc. 22], two creditors assert liens on the

Property (collectively, the “Secured Creditors”):

                a.     Republic Bank; and

                b.     Access Capital for Entrepreneurs (“ACE”).

       5.       Upon closing of the Sale, all liens, claims, and encumbrances on the Property shall

attach to the proceeds of the Sale to the same extent, validity, and priority as they existed on the

Petition Date. The lien of ACE shall attach to any proceeds in excess of the amount that Republic

Bank is owed.

       6.       The Debtor is authorized to pay the liens of the Secured Creditors at closing.
Case 20-60067-jwc        Doc 74     Filed 12/21/20 Entered 12/21/20 09:48:45               Desc Main
                                    Document      Page 3 of 3



       7.      The Debtor is authorized to take all actions necessary to close the Sale and to

comply with the Purchase Agreement.

       8.      The Court shall retain jurisdiction to enforce and implement the terms and

provisions of the Purchase Agreement and this Order.

       9.      Notwithstanding any rule to the contrary, the provisions of this Order shall be

immediately effective and enforceable upon its entry.

       10.     Counsel for Debtor shall serve this Order upon all interested parties. Debtor’s

counsel shall file a certificate of service within three (3) days of the entry of this Order.

                                     ### END OF ORDER ###

Prepared and Presented by:                             No objection by:
ROUNTREE LEITMAN & KLEIN, LLC                          NANCY J. GARGULA
                                                       UNITED STATES TRUSTEE
/s/ Elizabeth Childers                                 Region 21
William A. Rountree, Ga. Bar No. 616503
Benjamin R. Keck, Ga. Bar No. 943504                   /s/ Thomas W. Dworschak
Elizabeth Childers, Ga. Bar No. 143546                 THOMAS W. DWORSCHAK
Century Plaza I                                        Georgia Bar No. 236380
2987 Clairmont Road, Suite 175                         United States Department of Justice
Atlanta, Georgia 30329                                 Office of the United States Trustee
(404) 584-1238 Telephone                               Suite 362, Richard B. Russell Building
wrountree@rlklawfirm.com                               75 Ted Turner Drive, SW
bkeck@rlklawfirm.com                                   Atlanta, Georgia 30303
echilders@rlklawfirm.com                               (404) 331-4437, ext. 145
Attorneys for the Debtor                               Thomas.w.Dworschak@usdoj.gov
